20060621000202.-.

INU

Return to: HOMEFIELD FINANCIAL, f

ATTENTION: CHICAGO TITLE OT 39.00
410 EXCHANGE, SUITE 100 OB/e1 72008 09.37
IRVINE, CALIFORNIA 92602 KING COUNTY, WA

 

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Loan No.: 1060502862 [2/12 609°¥9
DEED OF TRUST COT'y
MIN: 1001532-Loeo5028e2

THIS DEED OF TRUST is made this JUNE 15, 2006 , among the Grantor,
ROBERT A. WEAN, AS HIS SEPARATE ESTATE

 

(herein "Borrower’),
CHICAGO TITLE INSURANCE COMPANY
701 FIFTH AVENUE, #3400, SEATTLE, WASHINGTON 98104 | (herein Trustee"), and
HOMEFIELD FINANCIAL, INC.
, organized
and existing under the laws of the State of CALIFORNIA , Whose address is —
410 EXCHANGE, SUITE 100, IRVINE, CALIFORNIA 92602

(herein “Lender").

WHEREAS, this Security Instrument is given to MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC. ("MERS"), as beneficiary, which is acting solely as nominee for Lender (as herein above defined)
and Lender's successors and assigns. MERS is organized and existing under the laws of Detaware, and has an address
and telephone number of P.O. Box 2026, Flint, MI 48501-2026, tel. (888) 679-MERS.

BORROWER, in consideration of the indebtedness herein recited and the trust herein created, irrevocably
grants and conveys to Trustee, in trust, with power of sale, the foHowing described property located in the County
of KING , State of Washington:

LOT 9, AARONWOOD, ACCORDING TO THE PLAT THEREOF RECORDED IN

VOLUME 199 OF PLATS, PAGE(S) 99 THROUGH 102, INCLUSIVE, IN KING

COUNTY, WASHINGTON.

LOT 9, VOLUME 199 OF PLATS, PAGE 99.

A.P.N.: 001130-0090-02 This document is second and
subordinate to Deed of Trust
recorded concurrently herewith.

which has the address of 10052 NORTHEAST 142ND PLACE BOTHELL '
[Street] [City]
Washington 98011 {herein "Property Address");
[Zip Code]

TOGETHER with all the improvements now or hereafter erected on the property, and all easements, rights,
appurtenances and rents (subject however to the rights and authorities given herein to Lender to collect and apply such
rents), all of which shall be deemed to be and remain a part of the property covered by this Deed of Trust; and all of
the foregoing, together with said property (or the leasehold estate if this Deed of Trust is on a leasehold) are
hereinafter referred to as the “Property”; Borrower understands and agrees that MERS holds only tegai title to the
interests granted by Borrower in this Security Instrument; but, if necessary to comply with law or custom, MERS (as
nominee for Lender and Lender's successors and assigns) has the right: to exercise any or ail of those interests,
including, but not limited to, the right to foreclose and sell the Property; and to take any action required of Lender
including, but not limited to, releasing and canceling this Security Instrument.

TO SECURE to Lender the repayment of the indcbtedness evidenced by Borrower's note dated
JUNE 15, 2006 _ and extensions and renewals thereof (herein "Note"), in the principal sum of
SIXTY-SIX THOUSAND AND 00/100 Dollars (U.S. $ 66,000.00 ),
with interest thereon, providing for monthly installments of principal and interest, with the balance of the
indebtedness, if not sooner paid, due and payable on JULY 1, 2021 ; the payment of all other sums,
with interest thereon, advanced in accordance herewith to protect the security of this Deed of Trust; and the
performance of the covenants and agreements of Borrower herein contained.

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Case 07-14143-KAOQ Doc 22-1 Filed 11/08/07 Ent. 11/08/07 17:52:27 Pg.1of7
Loan No.: 1060502862

Borrower covenants that Borrower is lawfully seized of the estate hereby conveyed and has tie right to grant
and convey the Property, and that the Property 1s unencumbered except for encumbrances of record, Borrower
covenants that Borrower warrants and will defend generafly the title to the Property against all claims and demands,
subject to encumbrances of record.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal and Interest. Borrower shall promptly pay when due the principal and interest
indebtedness evidenced by the Note and late charges as provided in the Note.

2. Funds for Taxes and Insurance. Subject to applicable law or a written waiver by Lender, Borrower
shall pay to Lender on the day monthly payments of principal and interest are payable under the Note, until the Note
is paid in full, a sum (herein "Punds") equal to one-twelfth of the yearly taxes and assessments (including
condominium and planned unit development assessments, if any) which may attain priority over this Deed of Trust,
and ground rents on the Property, if any, plus one-twelfth of yearly premium installments for hazard insurance, plus
one-(welfth of yearly premium installments for mortgage insurance, if any, all as reasonably estimated initially and
from time to time by Lender on the basis of assessments and bills and reasonable estimates thereof. Borrower shail
not be obligated to make such payments of Funds to Lender to the extent that Borrower makes such payments to (he
holder of a prior mortgage or deed of trust if such holder is an institutional lender.

If Borrower pays Funds to Lender, the Funds shall be held in an institution the deposits or accounts of which
are insured or guaranteed by a federal or state agency (including Lender if Lender is such an institution}. Lender shalt
apply the Funds to pay said taxes, assessments, insurance premiums and ground rents. Lender may not charge for
so holding and applying the Funds, analyzing said account or verifying and compiling said assessments and bills,
unless Lender pays Borrower interest on the Funds and applicable law permits Lender to make such a charge.
Borrower and Lender may agree in writing at the time of execution of this Deed of Trust that interest on the Funds
shall be paid to Borrower, and unless such agreement is made or applicable law requires such interest to be paid,
Lender shal! not be required to pay Borrower any interest or earnings on the Funds. Lender shall give to Borrower,

without charge, an annual accounting of the Funds showing credits and debits to the Funds and the purpose for which -

each debit to the Funds was made. The Funds are pledged as additional security for the sums secured by this Deed
of Trust.

If the amount of the Funds held by Lender, together with the future monthly instaliments of Funds payable
prior to the due dates of taxes, assessments, insurance premiums and ground rents, shall exceed the amount required
io pay said taxes, assessments, insurance premiums and ground rents as they fall due, such excess shall be, at
Borrower's option, either promptly repaid to Borrower or credited to Borrower on monthly installments of Funds.
if the amount of the Funds held by Lender shall not be sufficient to pay taxes, assessments, insurance premiums and
ground rents as they fall due, Borrower shall pay io Lender any amount necessary to make up the deficiency in one
or more payments as Lender may require.

Upon payment in full of all sams secured by this Deed of Trust, Lender shall promptly refund to Borrower
any Funds held by Lender. If under paragraph 17 hereof the Property is sold or the Property is otherwise acquired
by Lender, Lender shall apply, no later than immediately prior to the sale of the Property or its acquisition by Lender,
any Funds held by Lender at the time of application as a credit against the sums secured by this Deed of Trust.

3. Application of Payments. Unless applicable law provides otherwise, all payments received by Lender
under the Note and paragraphs 1 and 2 hereof shall be applied by Lender first in payment of amounts payable to
Lender by Borrower under paragraph 2 hereof, then to interest payable on the Note, and then to the principal of the Note.

4. Prior Mortgages and Deeds of Trust; Charges; Liens. Borrower shall perform all of Borrower's
obligations under any mortgage, deed of trust or other security agreement with a lien which has pricrity over this
Deed of Trust, including Borrower's covenants to make payments when due. Borrower shall pay or cause to be paid
all taxes, assessments and other charges, fines and impositions attributable to the Property which may altain a priorily
over this Deed of Trust, and leasehold payments or sround rents, if any.

5. Hazard Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term “extended coverage,” and such other hazards
as Lender may require and in such amounts and for such periods as Lender may require.

The insurance carrier providing the insurance shall be chosen by Borrower subject to approval by Lender;
provided, that such approval shall not be unreasonably withheld. All insurance policies and renewals thereof shall
be in a form acceptable to Lender and shall include a standard mortgage clause in favor of and in a form acceptable
to Lender. Lender shail have the right to hold tite policies and renewals thereof, subject to the terms of any mortgage.
deed of trust or other security agreement with a lien which has priority over this Deed of Trust.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower.

If the Property is abandoned by Borrower, or if Borrower fails to respond to Lender within 30 days from the
date notice is mailed by Lender to Borrower that the insurance carrier offers to settle a claim for insurance benefits,
Lender is authorized to collect and apply the insurance proceeds at Lender's option either to restoration or repair of
the Property or to the sums secured by this Deed of Trust.

6. Preservation and Maintenance of Property; Leaseholds; Condominiums; Planned Unit Developments.
Borrower shall keep the Property in good repair and shall not commit waste or permit impairment or deterioration
of the Preperty and shall comply with the provisions of any lease if this Deed of Trust is on a leasehold. If this Deed
of Trust is on a unit in a condominium or a planned unit development, Borrower shall perform ail of Borrower's

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Case 07-14143-KAO Doc 22-1 Filed 11/08/07 Ent. 11/08/07 17:52:27 Pg. 2of7
Loan No.: 1060502862

obligations under the declaration or covenants creating or poverning the condominium or plained unit development,
the by-laws and regulations of the condominium or planned unit development, and constituent documents.

7. Protection of Lender's Security. If Borrower fails to perform the covenants and agreements contained
in this Deed of Trust, or if any action or proceeding is commenced which materially affects Lender's interest in the
Property, then Lender, at Lender's option, upon notice to Borrower, may make such appearances, disburse such sums,
including reasonable attorneys’ fees, and take such action as is necessary to protect Lender's interest. If Lender
required mortgage insurance as a condition of making the loan secured by this Deed of Trust, Borrower shal! pay the
premiums required to maintain such insurance in effect until such time as the requirement for such insurance
terminates in accordance with Borrower's and Lender's written agreement or applicable law.

Any amounts disbursed by Lender pursuant to this paragraph 7, with interest thereon, at the Note rate, shall
become additional indebtedness of Borrower secured by this Deed of Trust. Unless Borrower and Lender agree ta
other terms of payment, such amounts shall be payable upon notice from Lender to Borrower requesting payment
thereof. Nothing contained in this paragraph 7 shall require Lender to incur any expense or take any action hereunder.

8. Inspection. Lender may make or cause to be made reasonable entries upon and inspections of the
Property, provided that Lender shall give Borrower notice prior to any such inspection specifying reasonable cause
therefor related to Lender's interest in the Property.

9. Condemnation. The proceeds of any award or claim for damages, direct or consequential, in
connection with any condemnation or other taking of the Property, or part thereof, or for conveyance in lieu of
condemnation, are hereby assigned and shail be paid to Lender, subject to the terms of any mortgage, deed of trust
or other security agreement with a lien which has priority over this Deed of Trust.

10. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment
or modification of amortization of the sums secured by this Deed of Trust granted by Lender to any successor in
interest of Borrower shall not operate to release, in any manner, the liability of the original Borrower and Borrower's
successors in interest. Lender shall not be required to commence proceedings against such successor or refuse to
extend time for payment or otherwise modify amortization of the sums secured by this Deed of Trust by reason of any ”
demand made by the original Borrower and Borrower's successors in interest. Any forbearance by Lender in
exercising any right or remedy hereunder, or otherwise afforded by applicable law, shall not be a waiver of or
preclude the exercise of any such right or remedy.

4). Successors and Assigns Bound; Joint and Several Liability; Co-signers. The covenants and
agreements herein contained shall bind, and the rights hereunder shall inure to, the respective successors and assigns
of Lender and Borrower, subject to the provisions of paragraph 16 hereof. All covenants and agreements of Borrower
shall be joint and several. Any Borrower who co-signs this Deed of Trust, but does not execute the Note, {a} is
co-signing this Deed of Trust only to grant and convey that Borrower's interest in the Property to Trustee under the
terms of this Deed of Trust, {b) is not personally Hable on the Note or under this Deed of Trust, and (c) agrees that
Lender and any other Borrower hereunder may agree to extend, modify, forbear, or make any other accommodations
with regard to the terms of this Deed of Trust or the Note without that Borrower's consent and without releasing that
Borrower or modifying this Deed of Trust as to that Borrower's interest in the Property.

12. Notice. Except for any notice required under applicable law to be given in another manner, {a} any
notice to Borrower provided for in this Deed of Trust shall be given by delivering it or by mailing such notice by first
class mail, or by such other method as required by applicable law, addressed to Borrower at the Property Address or
at such other address as Borrower may designate by notice to Lender as provided herein, and (b) any notice to Lender
shall be given by first class mail to Lender's address stated herein or to such other address as Lender may designate
by notice to Borrower as provided herein. Any notice provided for in this Deed of Trust shall be deemed (o have been
given to Borrower or Lender when given in the manner designated herein.

13. Governing Law; Severability. The state and local laws applicable to this Deed of Trust shall be the
laws of the jurisdiction in which the Property is located. The foregoing sentence shall not limit the applicability of
federal law to this Deed of Trust. In the event that any provision or clause of this Deed of Trust or the Note conflicts
with applicable law, such conflict shail not affect other provisions of this Deed of Trust er the Note which can be
given effect without the conflicting provision, and to this end the provisions of this Deed of Trust and the Note are
declared to be severable. As used herein, "costs," "expenses" and "attorneys' fees" include all suns to the extent not
prohibited by applicable law or limited herein.

14. Borrower's Copy. Borrower shail be furnished a conformed copy of the Note and of this Deed of Trust
at the dime of execution or after recordation hereof.

15, Rehabilitation Loan Agreement. Borrower shall fulfill all of Borrower's obligations under any home
rehabilitation, improvement, repair, or other loan agreement which Borrower enters into with Lender. Lender, at
Lender's option, may require Borrower to execute and deliver to Lender, in a form acceptable to Lender, an
assignment of any rights, claims or defenses which Borrower may have against parties who supply labor, materials
or services in connection with improvements made to the Property.

16, Transfer of the Property or a Beneficial Interest in Borrower. If all or any part of the Properly or
any interest in it is sold or transferred (or if a beneficial interest in Borrower is sold or transferred and Borrower is
not a natural person) without Lender's prior written consent, Lender may, at its option, require immediate payment
in full of all sums secured by this Deed of Trust. However, this option shall not be exercised by Lender if exercise
is prohibited by federal law as of the date of this Deed of Trust.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide
a period of not Jess than 30 days from the date the notice is delivered or mailed within which Borrower must pay all

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Case 07-14143-KAO Doc 22-1 Filed 11/08/07 Ent. 11/08/07 17:52:27 Pg. 3of7
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Loan No.: 1060502862

sums secured by this Deed of Trust. If Borrower fails to pay these sums prior to the expiration of this period, Lender
tnay invoke any remedies permitted by this Deed of Trust without further notice or demand on Borrower.

NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

17. Acceleration; Remedies. Except as provided in paragraph 16 hereof, upon Borrower's breach of
any covenant or agreement of Borrower in this Deed of Trust, including the covenants to pay when due any
sums secured by this Deed of Trust, Lender prior to acceleration shail give notice to Borrower as provided in
paragraph 12 hereof specifying: (2) the breach; (2) the action required to cure such breach; (3) a date, not iess
than 10 days from the date the notice is mailed to Borrower, by which such breach must be cured; and (4) that
failure to cure such breach on or before the date specified in the notice may result in acceleration of the sums
secured by this Deed of Trust and sale of the Property at public auction at a date not less than 120 days in the
future. The notice shall further inform Borrower of (i) the right to reinstate after acceleration, (ii) the right
to bring a court action to assert the nonexistence of a default or any other defense of Borrower to acceleration
and foreclosure, and (iii) any other matters required to be included in such notice by applicable law. If the
breach is not cured on or before the date specified in the notice, Lender at Lender's option may declare all of
the sums secured by this Deed of Trust to be immediately due and payable without further demand and may
invoke the power of sale and any other remedies permitted by applicable law. Lender shall be entitled to colfect
alf reasonable costs and expenses incurred in pursuing the remedies provided in this paragcaph 17, including,
but not limited to, reasonable attorneys’ fees.

If Lender invokes the power of sale, Lender shall give written notice to Trustee of the occurrence of an
event of default and of Lender's election to cause the Property to be sold. Trustee and Lender shall take such
action regarding notice of sale and shall give such notices to Borrower and to other persons as applicable law
may require. After the lapse of such time as may be required by applicable law and after publication of the
notice of sale, Trustee, without demand on Borrower, shall sell the Property at public auction to the highest
bidder at the time and place and under the terms designated in the notice of sale in one or more parcels and in
such order as Trustee may determine. Trustee may postpone sale of the Property for a period or periods not
exceeding a total of 30 days by public announcement at the time and place fixed in the notice of sale. Lender
or Lender's designee may purchase the Preperty at any sale.

Trustee shall deliver to the purchaser Trustee's deed conveying the Property so sold without any
covenant or warranty, expressed or implied. The recitals in the Trustee's deed shail be prima facie evidence
of the truth of the statements made therein. Trustee shail apply the proceeds of the sale in the following order:
(a) to all reasonable costs and expenses of the sale, including, but not limited to, reasonable Trustee's and
attorneys’ fees and costs of title evidence; {b) to all sums secured by this Deed of Trust; and (c) the excess, if
any, to the person or persons fegalfy entitled thereto, or to the Clerk of the Superior Court of the County in
which the sale teok place.

18. Borrower's Right to Reinstate. Notwithstanding Lender's acceleration of the sums secured by this
Deed of Trust due to Borrower's breach, Borrower shall have the right to have any proceedings begun by Lender to
enforce this Deed of Trust discontinued at any time prior to the earlier to occur of (i) the tenth day before sale of the
Property pursuant to the power of sale contained in this Deed of Trust or (ii) entry of a judgment enforcing this Deed
of Trust if: (a) Borrower pays Lender all sums which would be then due under this Deed of Trust and the Note had
no acceleration occurred; (b) Borrower cures all breaches of any other covenants or agreements of Borrower contained
in this Deed of Trust; (c) Borrower pays all reasenable expenses incurred by Lender and Trustee in enforcing the
covenants and agreements of Borrower contained in this Deed of Trust, and in enforcing Lender's and Trustee's
remedies as provided in paragraph 17 hereof, including, but not limited to, reasonable attorneys’ fees: and (d)
Borrower takes such action as Lender may reasonably require (o assure that the lien of this Deed of Trust, Lender's
interest in the Property and Borrower's obligation to pay the sums secured by this Deed of Trust shall continue
unimpaired. Upon such payment and cure by Borrower, this Deed of Trust and the obligations secured hereby shail
remain in fulf force and effect as if no acceleration had occurred.

19. Assignment of Rents; Appointment of Receiver: Lender in Possession. As additional securily
hereunder, Borrower hereby assigns to Lender the rents of the Property, provided that Borrower shall, prior to
acceleration under paragraph 17 hereof or abandonment of the Property, have the right to collect and retain such rents
as they become due and payable.

Upon acceleration under paragraph 17 hereof or abandonment of ihe Property, Lender, in person, by agent
or by judicially appointed receiver shall be entitled to enter upon, take possession of and manage the Property and
to collect the rents of the Property including those past due. All rents collected by Lender or the receiver shail be
applied first to payment of the costs of management of the Property and collection of rents, including, but not limited
to, receiver's fees, premiums on receiver's bonds and reasonable attorneys’ fees, and then to the sums secured by this
Deed of Trust. Lender and the receiver shall be liable to account only for those rents actually received.

20. Reconveyance. Upon payment of all sums secured by this Deed of Trust, Lender shall request Trustee
to reconvey the Property and shail surrender this Deed of Trust and all notes evidencing indebtedness secured by this
Deed of Trust to Trustee. Trustee shall reconvey the Property without warranty and without charge to the person or
persons legally entitled thereto. Such person or persons shall pay all costs of recordation, if any.

2t. Substitute Trustee. In accordance with applicable law, Lender may from time (o time appoint a
successor trustee to any Trustee appointed hereunder who has ceased to act. Without conveyance of the Property, the
successor trustee shall succeed to all the tile, power and duties conferred upon the Trustee fierein and by applicable
law.

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Case 07-14143-KAOQ Doc 22-1 Filed 11/08/07 Ent. 11/08/07 17:52:27 Pg. 4of7
Loan Ne.: 1060502862

22. Use of Property. The Property is not

23. Riders. The following riders are
PREPAYMENT RIDER TO SECURITY I
HEREOF.

used principally for agricultural or farming purposes.

to be executed by Borrower:
NST ATTACHED HERETO AND MADE A PART

IN WITNESS WHEREOF, Borrower has executed this Deed of Trust.

    

i wi {Seal}
L“ROBERT A. WEAN -Borrower

 

(Seal)
-Borrower

 

{Seal)
-Borrower

 

State of WASHINGTON OLEYIA

(Seal)
-Borrower

 

 

(Seal)
-Borrower

(Seal)

-Borrower

 

§
County of = KERG- MU moma hW §

On this day personally appeared before me

ROBERT A. WEAN

to me known to be the person(s) described in and who executed the within and foregoing instrument, and
acknowledged that he/she/they executed the same as her/his/their free and voluntary act and deed, for the uses and

purposes therein mentioned.

Given under nry hand and official seat this

{Seal}

OFFICIAL SEAL
eae MICHAEL COFFEE
ASMA] “NOTARY PUBLIC-OREGON
Sz COMMISSION NO. 368370
MY COMMISSION EXPIRES MAY 6, 2007

 

   

   
   
   

 

 

 

My commission expires: yV\qa ) 2007
f

IS day of Sure, 2006

bhiy/, bihe-— Netw Public.

Notary Public in and for the State of Oreuus™®
residing at }O3S3 Saw Cas da ge SF.
Pertlond, 0 ATA

Michael CofLee

(Printed Name)

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Case 07-14143-KAO_ Doc 22-1 Filed

11/08/07 Ent. 11/08/07 17:52:27 Pg. 5of7
PREPAYMENT RIDER

Loan Number; 1060502862
Date: JUNE 15, 2006

Borrower(s}: ROBERT A. WEAN

THIS PREPAYMENT RIDER (the "Rider”) is made this 15th day of JUNE :
2006 , and is incorporated into and shall be deemed to amend and supplement
the Morigage, Deed of Trust or Security Deed (the “Security Instrument") of the same date given by the

undersigned ("Borrower") to secure repayment of Borrower's promissory note (the "Note") in favor of
HOMEFTELD FINANCIAL, INC., A CALIFORNIA CORPORATION

("Lender"). The Security Instrument encumbers the Property more specifically described in the Security
Instrument and located at

10052 NORTHEAST 142ND PLACE, BOTHELL, WASHINGTON 98011
, [Property Address}

ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

A, PREPAYMENT CHARGE
The Note provides for the payment of a prepayment charge as follows:

4. BORROWER'S RIGHT TO PREPAY; PREPAYMENT CHARGE

I have the right to make payments of Principal at any time before they are due.
A payment of Principal only is known as a “Prepayment.” When I make a Prepayment,
I will tell the Note Holder in writing that I am doing so. I may not designate a payment
as a Prepayment if I have not made all the monthly payments due under the Note.

The Note Holder will use my Prepayments to reduce the amount of Principal that
I owe under the Note. However, the Note Holder may apply my Prepayment to the
accrued and unpaid interest on the Prepayment amount, before applying my Prepayment
to reduce the Principal amount of the Note. If 1 make a partial Prepayment, there will be
no changes in the due dates of my monthly payment unless the Note Holder agrees in
writing to those changes.

If the Note contains provisions for a variable interest rate, my partial Prepayment
may reduce the amount of my monthly payments after the first Change Date following my
partial Prepayment. However, any reduction due to my partial Prepayment may be offset
by an interest rate increase. If this Note provides for a variable interest rate or finance
charge, and the interest rate or finance charge at any time exceeds the legal limit under

 

MULTISTATE PREPAYMENT RIDER DocMagic Crome 800-649-1362
6/03 Page 1 of 2 wavw.docmagic.com

Case 07-14143-KAOQ Doc 22-1 Filed 11/08/07 Ent. 11/08/07 17:52:27 Pg. 6of7
Rider,

which a Prepayment penalty is allowed, then the Note Holder's right to assess a
Prepayment penalty will be determined under applicable law.

ifwithin THIRTY-SIX {( 36 ) months from the date the Security
Instrument is executed ] make a full Prepayment or one or more partial Prepayments, and
the total of all such Prepayments in any 12-month period exceeds twenty percent (20%)
of the original Principal amount of the loan, I will pay a Prepayment charge in an amount
equalio SIX { 6 ) months' advance interest on the amount by which
the total of my Prepayments within any 12-month period exceeds twenty percent (20%) of
the original Principal amount of the loan.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this

 

 

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(Seal)

ROBERT A. WEAN -Borrower -Borrower
(Seal) (Seal)

-Borrower -Borrower

(Seal} (Seal)

-Borrower -Borrower

MULTISTATE PREPAYMENT RIDER DocMagic GRamns 900-649-1362
6/03 Page 2 of 2 wunw.doemagic.com

Case 07-14143-KAOQ Doc 22-1 Filed 11/08/07

Ent. 11/08/07 17:52:27 Pg.7of7
